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                         UNITED STATES DISTRICT COURT NORTHERN
                                  DISTRICT OF ILLINOIS

JOEL HABICH, individually and on behalf )
of a class of people similarly situated,    )
                                            ) Case No. 22 CV 4438
                                Plaintiffs, )
                                            )
v.                                          )
                                            ) Removed from:
EXELON CORPORATION,                         ) Circuit Court of Cook County
COMMONWEALTH EDISON                         ) Illinois
COMPANY,                                    )
ACLARA TECHNOLOGIES, LLC                    )
AND                                         )
ACLARA METERS LLC                           )
                                            )
                                Defendants. )
________________________________________________________________________

     PLAINTIFF’S MOTION TO COMPEL DEFENDANT EXELON TO PROVIDE
     VERIFIED ANSWERS TO RULE 33 INTERROGATORIES AND TO STRIKE
                  IMPROPER ANSWERS AND OBJECTIONS

       Plaintiff, JOEL HABICH, by and through his attorneys, GLEN J DUNN &

ASSOCIATES, pursuant to Federal Rules of Civil Procedure Rule 37(a)(3)(B) and Rule

33(b)(5), moves this Court for an order compelling Defendant EXELON CORPORATION

(“Exelon”) to provide verified answers to Habich’s Rule 33 Interrogatories instanter, to strike

the unverified and non-responsive answers as improper, strike and bar all the boilerplate

objections as untimely and insufficient, and to award reasonable costs and attorney fees against

Exelon and its counsel for the preparation and presentment of this motion. In support of this

Motion, the Plaintiff states as follows:

   1. On April 6th, 2023, this Honorable Court ordered Plaintiff to serve Defendants with initial

       written discovery requests by 05/08/2023 (Doc. No. 65).




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    2. Plaintiff served Defendant Exelon with Rule 33 Interrogatories and Rule 34 Requests to

         Produce on 05/08/2023. The Rule 33 Interrogatories are attached as Exhibit 1.

    3. Pursuant to both Rules 33 and 34 of the Federal Rules of Civil Procedure, Exelon’s

         responses to written discovery, along with any objections, were due within 30 days of

         service, or by June 7th, 2023.

    4. After many conferrals, Exelon finally provided responses to Plaintiff’s Rule 33

         Interrogatories on July 19th, 2023. Exelon’s responses to Plaintiff’s Rule 33

         Interrogatories are attached as Exhibit 2. Exelon provided its responses to the Rule 33

         Interrogatories nearly 1.5 months after they were due.

    5. The answers are still unverified, which is in violation of Fed. R. Civ. P. 33(b)(5).

    6. Exelon’s responses contain page-long objections which are untimely, and reference

         arguments that they had already raised in their Motion to stay and stage discovery, which

         this Honorable Court rejected when it denied that Motion.1

    7. The responses that Exelon has provided over its objections is a single-paragraph,

         unverified, boilerplate, non-responsive answer which basically rehashes unfounded

         factual assertions that Exelon is merely a holding company, has no employees, and

         therefore cannot answer any of the questions that have been asked, and that the questions


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  Exelon’s objections cite to case law such as Muir v. Nature’s Bounty Inc., 2017 WL 4310650, for e.g., for the
proposition that “the court declines to permit Muir to proceed to discovery on a nationwide class basis.” These legal
arguments were raised by the Defendant in Doc. No. 51 when seeking that this Honorable Court stay and stage
nationwide and class-wide discovery. e.g., “After the court has adjudicated the merits of Habich’s fire, the remaining
claims – if any – can be prepared for trial, and if the Court denies the motion to strike the class action allegations,
(sic) examined to determine whether they can proceed on a class-wide basis.” (Doc. No. 51. at pg. 7). This
Honorable Court has ordered that Plaintiff can proceed with nationwide and class-wide discovery, after hearing
these same arguments. See, Doc. No. 63 at pg. 5 “… defendants have not carried their burden to show that a stay of
nationwide discovery would simplify the issues or reduce the burden on the parties or the court. The motion to stay
and stage discovery is therefore denied.” That being the case, rehashing these arguments in response to Rule 33
Interrogatories offers no merit. Exelon is now seeking its third bite at the apple to avoid providing even the most
basic information about a putative nationwide class, no doubt because such claims exist. ComEd has already
identified at least 61 similar fire events involving smart meters in Illinois alone. There are undoubtedly more smart
meter related fire events in the five other states where Exelon’s subsidiaries provide power services.

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   are more correctly directed towards ComEd. (See Exhibit 2). Exelon raised the same

   factual assertions before this Honorable Court in its Motion to stay and stage discovery

   (See Doc. No. 51, pg. 3, footnote 1). This Honorable Court allowed the Plaintiff to

   proceed with nationwide class discovery after hearing these arguments, and therefore

   Exelon must be prevented from abusing the discovery process in its attempt to relitigate

   the same issue.

8. When Exelon failed to provide its answers on the original due date of June 7th 20223,

   pursuant to Rule 37 of the Federal Rules of Civil Procedure, and Northern District of

   Illinois Local Rule 37.2, Plaintiff’s counsel attempted to confer with Defense counsel on

   06/09/23, 06/12/23, 06/13/23, and 06/23/23, in an attempt to obtain Exelon’s compliance

   with Plaintiff’s discovery requests.

9. After Exelon sent its deficient responses on 07/19/23, Plaintiff’s counsel attempted to

   confer on 07/24/23 and 07/25/23, but received no response from Defense counsel. When

   Defense counsel finally called to confer, they merely restated that they do not agree with

   the Plaintiff’s position that the answers were deficient or that the objections were

   untimely and waived. The email correspondence pertaining to LR 37.2 conferrals on the

   dates mentioned above are attached as Group Exhibit 3.

10. Given that the Defendants have failed to raise timely objections to the Rule 33

   Interrogatories within 30 days of service, and Defense counsel have failed to provide any

   justification for the delay in raising those objections in a timely manner, the Plaintiff

   seeks that this Court compel Exelon to provide verified and complete answers to Plaintiff

   on or before July 31st, 2023, and strike all objections as untimely. See, Footnote 2,

   Autotech Technologies Ltd. Partnership v. Automationdirect.com, Inc., 236 F.R.D. 396



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   (N.D. Ill. 2006) (“The text of Rule 33 includes an automatic waiver provision where there

   has been an untimely objection. Rule 34 does not. Nonetheless, Courts are uniform in

   their interpretation of the rules as permitting a finding of waiver where objections are not

   timely made and the objector cannot show good cause for the delay.”); See also, Poulos

   v. Naas Foods, Inc., 959 F.2d 69, 74 (7th Cir. 2012).

11. Besides being untimely, Exelon’s objections are waived because they are non-responsive

   boilerplate objections, and are not specifically tailored to the Interrogatories in violation

   of Fed. R. Civ. P. 33(b)(4). It is well-settled that such boilerplate objections are

   insufficient to meet the requirements of Rule 33. See, Fudali v. Napolitano, 283 F.R.D.

   400, 403 (N. D. Ill. 2012) (“In response to many discovery requests, the TSA invoked the

   uninformative litany that the requests were overbroad, production of documents unduly

   burdensome, that the plaintiff already had the information, that it had been turned over to

   the TSA with the expectation of confidentiality, etc. No specifics were given. This

   “baseless, often abused litany,” which is often combined with the objection that the

   evidence “is neither relevant not reasonably calculated to lead to the discovery of

   admissible evidence,” Swift v. First USA Bank, 1999 WL 1212561 (N.D.Ill.1999), is an

   insufficient basis to comply with discovery. ‘They are tantamount to not making an

   objection at all.’” (Citation Omitted). See also, In re Aircrash Disaster Near Roselawn,

   Ind, 172 F.R.D. 295 (N.D. Ill. 1997) (“rejecting generic, non-specific, boilerplate

   objections). “As an objecting party, (Exelon) is also required to specifically detail the

   reasons why each interrogatory is irrelevant – whether it be by a simple affidavit or some

   other evidence which supports its objection. General objections are not proper.” (See,

   Schaap v. Executive Industries, Inc., 130 F.R.D. 384, 386 (N.D. Ill. 1990).



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    12. Further, given that the generic boilerplate objections are “tantamount to not making an

         objection at all,” it has been repeatedly held by courts that a position that the answers are

         “subject to and without waiving” such objections, is ineffective. See, Novelty, Inc. v.

         Mountain View Marketing, Inc., 265 F.R.D. 370, 375 (S.D. Ind. 2009) [citing DL v.

         District of Columbia, 251 F.R.D. 38, 43 (D.D.C. 2008) (“holding ineffective general

         objections even though the request indicated that production was “subject to and without

         waiving those objections, because the objections were not presented with sufficient

         specificity to enable the court to evaluate their merits”)]; In re Peregrine Financial

         Group Customer Litigation, 2015 WL 1344466 (N.D. Ill. Mar. 20, 2015) at *5

         (“Plaintiffs have already provided a partial response to Interrogatory No. 7. This waives

         any objection related to this limited set of discovery answers.”).2

    13. This “uninformative litany” is precisely the “one-objection-fits-all” approach that Exelon

         has provided to 13 out of the 14 Rule 213 Interrogatories served by Plaintiff. (See Exhibit

         2). Plaintiff seeks an award of reasonable costs and attorney’s fees for the preparation and

         presentment of this Motion. (See, Hangzhou Aoshuang E-commerce Co., Ltd. v.

         008Fashion, 336 F.R.D. 154, 155 (N. D. Ill. 2020) [“Under Rule 37, attorneys’ fees, if

         otherwise appropriate – and assuming the challenged refusal was not “substantially

         justified” – must be awarded following the granting of a Motion to Compel Discovery.”


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  See also, Ochoa v. Empresas ICA, 2012 U.S. Dist. LEXIS 111182* (S.D. Fl. Aug. 8, 2012, at *4) (“The parties
shall not recite a formulaic objection followed by an answer to the request … Such an objection and answer
preserves nothing and serves only to waste the time of the Parties and the Court. Further, such practice leaves the
requesting Party uncertain as to whether the question has actually been fully answered or whether only a portion of
the question has been answered.”); Myers v. Goldco, Inc., 2008 U.S. Dist. LEXIS 37089, at *2-3 (N.D. Fla. May 6,
2008); Russell v. Daiichi-Sankyo, Inc., 2012 U.S. Dist. LEXIS 49161 at *10 (D. Mont. Apr. 6, 2012) (“The Court
here is also concerned about DSI’s practice of objecting and then responding ‘without waiving the objection.’ That it
is a common practice does not make it acceptable. It was expressly disapproved by this Court nearly a decade
ago.”); Leisure Hospitality Inc. v. Hunt Props, Inc., 2010 U.S. Dist. LEXIS 93680, at *9-10 (N.D. Okla. Sept. 8,
2010) (“A party may object to some or all of the requested discovery, but it must be clear whether the responding
party is objecting or not, and if objecting, to what part of the request and on what specific grounds.”).

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       (Referencing footnote 1, which provides “Rule 37(a)(5) provides that the “court must …

       require the party … whose conduct necessitated the motion … to pay the movant’s

       reasonable expenses incurred in making the motion, including attorneys’ fees.”

       (Emphasis Added)]. Magistrate Judge Jeffrey Cole noted in Fudali, 284 F.R.D. at 403

       (supra),

           “Where any party acts inappropriately and causes his opponent to incur needless costs
           to secure compliance with discovery obligations, Rule 37 provides a remedy and
           should not receive a grudging application. In Rickels v. City of South Bend, Indiana,
           33 F.3d 785, 786-87 (7th Cir. 1994), Judge Easterbrook said: ‘The great operative
           principle of Rule 37(a)(4) is that the loser pays.’ Charles Alan Wright & Arthur R.
           Miller, 8 Federal Practice and Procedure § 2288 at 787 (1970). Fee shifting when
           the judge must rule on discovery disputes encourages their voluntary resolution and
           curtails the ability of litigants to use legal processes to heap detriments on adversaries
           (or third parties) without regard to the merits of the claims.” (Parenthesis in original).
           See also Sambrano v. Mabus, 663 F.3d 879, 881-82 (7th Cir. 2011) (“Sanctions such
           as orders to pay the other side’s attorneys’ fees may redress injuries done to put-upon
           adversaries …”); United States Freight Co. v. Penn Cent. Transp. Co., 716 F.2d 954,
           955 (2nd Cir. 1983) (“General deterrence, rather than mere remediation of the
           particular parties’ conduct, is a goal under Rule 37; unconditional impositions of
           sanctions are necessary to deter ‘other parties to other lawsuits’ from flouting ‘other
           discovery orders of other district courts.”).”

   14. Plaintiff believes the award of all reasonable costs, including attorneys’ fees, associated

       with the preparation and presentment of the instant motion is appropriate both to

       encourage the voluntary resolution of all remaining discovery disputes in this case, as

       well as to serve as a deterrent to other litigants in this District from engaging in similar

       behavior.

       WHEREFORE, Plaintiff seeks that this Honorable Court strike Exelon’s unverified

boilerplate responses, compel Exelon to provide verified answers to Plaintiff’s Rule 33

interrogatories pursuant to Rule 37(a)(3)(B) instanter, bar any objections as untimely, and

further award reasonable expenses and attorney’s fees incurred in bringing this Motion pursuant

to Rule 37(a)(5)(A), and any other relief that this Court deems fair and equitable.


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                                                 Respectfully Submitted,
                                                 /s/Glen J. Dunn, Jr.
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                                                 Attorney for Plaintiff

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                             CERTIFICATION OF CONFERRAL

       As described in this Motion, plaintiff’s counsel has attempted in good faith to confer with
defense counsel regarding the late and deficient responses to Plaintiff’s Rule 33 Interrogatories.
Conferrals were held on 06/09/23, 06/12/23 and 6/13/23, 06/23/23, and 07/26/23, but no
agreement was reached between the counsel.

                                                      /s/Glen J. Dunn, Jr.
                                                      Glen J. Dunn, Jr.




                                 CERTIFICATE OF SERVICE

        The undersigned, an attorney, certifies that he caused this Motion to be filed, using the
CM/ECF system, which will send a true and correct copy to all Counsel of Record who have
filed an appearance herein, on this 2nd day of August, 2023.


                                                      Respectfully submitted,
                                                      /s/Glen J. Dunn, Jr.
                                                      Glen J. Dunn, Jr.
                                                      Attorney for Plaintiff


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